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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


 WANDA COOPER, in her individual capacity
 and as administratrix of the Estate of the
 decedent Ahmaud Arbery,

                 Plaintiff,                                  CIVIL ACTION NO.: 2:21-cv-20

         v.

 TRAVIS MCMICHAEL, et al.,

                 Defendants.


                                             ORDER

       This matter is before the Court on several Defendants’ Motions to Stay. Docs. 68, 69, 70,

73, 74, 77. The moving Defendants argue these proceedings should be stayed pending the

resolution of various motions to dismiss and resolution of criminal charges against some of these

Defendants. Plaintiff filed a combined Response to these Motions, agreeing a stay would be

appropriate. Doc. 85. For the following reasons, the Court STAYS the proceedings in this case

pending the outcome of the criminal proceedings involving certain Defendants.

       “[T]he power to stay proceedings is incidental to the power inherent in every court to

control the disposition . . . of its docket with economy of time and effort for itself, for counsel,

and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). Staying a civil action until

an overlapping criminal proceeding has ended is “within the power of the district court, and in

accord with common practice.” Wallace v. Kato, 549 U.S. 384, 393–94 (2007).

       In this matter, several Defendants are facing pending state and federal criminal charges.

Plaintiff acknowledges these proceedings “overlap factually with this matter.” Doc. 85 at 1.
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Given the complications that would arise from navigating discovery while also being cognizant

of Defendants’ Fifth Amendment rights against self-incrimination, the most efficient use of this

Court’s and the parties’ resources would be to stay the proceedings in this case until the

resolution of those criminal matters. Furthermore, no party has stated any opposition to a stay of

these proceedings.

       Accordingly, the Court STAYS the proceedings in this case, and this stay will remain in

place until the resolution of state and federal criminal proceedings involving certain Defendants.

However, any party may file a motion asking the Court to lift the stay, if the circumstances

change such that it is appropriate for this case to proceed.

       SO ORDERED, this 12th day of October, 2021.




                                       ____________________________________
                                       BENJAMIN W. CHEESBRO
                                       UNITED STATES MAGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA




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